

Abad v Brookfield Props. OLP Co. LLC (2021 NY Slip Op 00103)





Abad v Brookfield Props. OLP Co. LLC


2021 NY Slip Op 00103


Decided on January 12, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 12, 2021

Before: Renwick, J.P., Gische, Kern, Oing, Mendez, JJ.


Index No. 20851/16E Appeal No. 12755 Case No. 2020-01440 

[*1]Valerio Abad, Plaintiff-Appellant,
vBrookfield Properties OLP Co. LLC, et al., Defendants-Respondents.


Michael H. Zhu, New York, for appellant.
Ahmuty, Demers &amp; McManus, Albertson (Glenn A. Kaminska of counsel), for respondents.



Order, Supreme Court, Bronx County (Lucindo Suarez, J), entered August 19, 2019, which, to the extent appealed from as limited by the briefs, denied plaintiff's motion for partial summary judgment on the issue of liability on his Labor Law § 240(1) cause of action, unanimously affirmed, without costs.
There are triable issues regarding whether the fall of the door was the goal of the demolition work being performed (compare Wilinski v 334 E. 92nd Hous. Dev. Fund Corp., 18 NY3d 1, 11 [2011]; Diaz v Raveh Realty, LLC, 182 AD3d 515 [1st Dept 2020];  Tropea v Tishman Constr. Corp., 172 AD3d 450 [1st Dept 2019]) and whether the door was the type of object that required securing under the statute (compare Outar v City of New York, 5 NY3d 731 [2005]; Diaz, 182 AD3d 515; Ragubir v Gibraltar Mgt. Co., Inc.,
146 AD3d 563, 564 [1st Dept 2017]; with Salazar v Novalex Contr. Corp., 18 NY3d 134, 139—140 [2011]).	
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 12, 2021








